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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION
UNITED STATES OF AMERICA
V. NO, 4:22-CR-333-P

MARCEL MALLORY (04)

PLEA AGREEMENT WITH WAIVER OF APPEAL

Marcel Mallory (“Defendant”), Samuel Terry, Defendant’s attorney, and the
United States of America (“Government”), agree as follows:
I. Rights of Defendant: Defendant understands that he has the right
a. to plead not guilty;
b. to have a trial by jury;
é to have his guilt proven beyond a reasonable doubt;

d. to confront and cross-examine witnesses and to call witnesses in his
defense;. and

a, against compelled self-incrimination.

2 Waiver of Rights and Plea of Guilty: Defendant waives these rights and

 

pleads guilty to the offense alleged in Count One of the Superseding Information,
charging a violation of 21 U.S.C. § 846, that is, conspiracy to possess of a controlled
substance with intent to distribute. Defendant understands the nature and elements of the
crimes to which he is pleading guilty, and agrees that the factual resume he has signed is

true and will be submitted as evidence.

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3 Sentence: The penalties the Court can impose include:

a.

imprisonment for a period of not less than five (5) years and not
more than forty (40) years;

a fine not to exceed $5,000,000;

a mandatory term of supervised release of not less than four (4)
years, which may be mandatory under the law and will follow any
term of imprisonment. If the defendant violates any condition of the
term of supervised release, the Court may revoke such release term
and require that the defendant serve an additional period of
confinement;

a mandatory special assessment of $100;

restitution to victims or to the community, which may be mandatory
under the law, and which Defendant agrees may include restitution
arising from all relevant conduct, not limited to that arising from the

offense of conviction alone; and

costs of incarceration and supervision.

A, Court’s Sentencing Discretion and Role of the Guidelines: Defendant

understands that the sentence in this case will be imposed by the Court after consideration

of the United States Sentencing Guidelines. The suidelines are not binding on the Court,

but are advisory only, Defendant has reviewed the guidelines with his attorney, but

understands no one can predict with certainty the outcome of the Court’s consideration of

the guidelines in this case. Defendant will not be allowed to withdraw his plea if his

sentence is higher than expected. Defendant fully understands that the actual sentence

imposed (so long as it is within the statutory maximum) is solely in the Court’s

discretion.

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5. Mandatory special assessment: Defendant agrees to pay to the U.S. District

 

Clerk the amount of $100.00, in satisfaction of the mandatory special assessment in this
case.

6. Defendant's agreement: Defendant shall give complete and truthful
information and/or testimony concerning his participation in the offense of conviction.
Upon demand, Defendant shall submit a personal financial statement under oath and
submit to interviews by the government and the U.S. Probation Office regarding his
capacity to satisfy any fines or restitution.

7. Government’s Agreement: The government will not bring any additional
charges against Defendant based upon the conduct underlying and related to the
Defendant’s plea of guilty. After sentence is imposed by the Coutt, the government will
move to dismiss any remaining charges against the defendant. This agreement is limited.
to the United States Attorney's Office for the Northern District of Texas and does not
bind any other federal, state, or local prosecuting authorities, nor does it prohibit any civil
or administrative proceeding against Defendant or any property.

8. Violation of Agreement: Defendant understands that if he violates any
provision of this agreement, or if his guilty plea is vacated or withdrawn, the Government
will be free from any obligations of the agreement and free to prosecute Defendant for all
offenses of which it has knowledge. In such event, Defendant waives any objections
based upon delay in prosecution. Ifthe plea is vacated or withdrawn for any reason other
than a finding that it was involuntary, Defendant waives objection to the use against him

of any information or statements he has provided to Government and any resulting leads,

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9, Voluntary Plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea
agreement. There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

10. Waiver of right to appeal or otherwise challenge sentence: Defendant
waives his rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. § 3742, to appeal from
his conviction and sentence. He further waives his right to contest his conviction and
sentence in any collateral proceeding, including proceedings under 28 U.S.C. § 2241 and
28 U.S.C. § 2255. Defendant, however, reserves the rights (a) to bring a direct appeal of
(i) a sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error at
sentencing, (b) to challenge the voluntariness of his plea of guilty or this waiver, and (c)
to bring a claim of ineffective assistance of counsel.

11. Representation of Counsel: Defendant has thoroughly reviewed all legal

 

and factual aspects of this case with his lawyer and is fully satisfied with that lawyer’s
legal representation. Defendant has received from his lawyer explanations satisfactory to
him concerning each paragraph of this plea agreement, each of his rights affected by this
agreement, and the alternatives available to him other than entering into this agreement.
Because he concedes that he is guilty, and after conferring with his lawyer, Defendant has
concluded that it is in his best interest to enter into this plea agreement, and all of its

terms, rather than to proceed to trial in this case.

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12.  Entirety of Agreement: This document is a complete statement of the

parties’ agreement and may not be modified unless the modification is in writing and

signed by all parties.

AGREED TO AND SIGNED this Z TB of Wace , 2022.

 

Defendant

SAMUEL TERR¥— —

Attorney for Defenda

  

 

C E MEACHAM

BD STATBS ATTORNEY
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SHAWN. SMITH

ssistant United States Attorney
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Telephone: 817.252.5200
Facsimile: / 817,252,545 5

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VLEX/C/ LEWIS
eputy Criminal Chief

 

I have read (or had read to me) this Plea Agreement and have carefully reviewed

 

Defendant

OF =F

Date

I am the defendant’s coutsel. I have carefully reviewed every part of this Plea
Agreement with the defendant. To my knowledge and belief, my client’s decision to
enter into this Plea Agreement is an informed and voluntary one.

SS
SAMUEL TERRY
Attorney for Dpteat

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Date

 

 
